Case 5:15-cr-00066-SMH-MLH Document 56 Filed 01/27/17 Page 1 of 1 PageID #: 297




                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                            CRIMINAL NO. 5:15-cr-00066

 VERSUS                                              JUDGE HICKS

 JEFFERY ALEXANDER                                   MAGISTRATE JUDGE HORNSBY


                                            ORDER

        Considering the foregoing motion to withdraw and counsel of record,

        IT IS HEREBY ORDERED that Rebecca L. Hudsmith, Federal Public Defender, be allowed

 to withdraw as counsel of record for Defendant.

        Lafayette, Louisiana, January 27
        xxxxxxxx                            , 2017
        Shreveport,




                              ________________________________________
                                          xxxxxxxJudge
                                          District
                                         Magistrate
